   Case: 1:22-cv-04247 Document #: 2-1 Filed: 08/11/22 Page 1 of 52 PageID #:7
                                                                          CT Corporation
® Wolters Kluwer                                           Service of Process Notification
                                                                                                              07/19/2022
                                                                                                 CT Log Number 541954256


 Service of Process Transmittal Summary

 TO:     Csx Legal Papers
         CSX CORPORATION
         500 WATER ST # J150
         JACKSONVILLE, FL 32202-4423

 RE:     Process Served in Illinois

 FOR:    CSX Intermodal Terminals, Inc. (Domestic State: DE)



 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                     Re: RAUL ALVAREZ // To: CSX Intermodal Terminals, Inc.

 DOCUMENT(S) SERVED:                  Summons, Complaint(s)

 COURT/AGENCY:                        Cook County Circuit Court - Law Division, IL
                                      Case # 2022L006247
 NATURE OF ACTION:                    Personal Injury - Vehicle Collision - 12/19/2020

 PROCESS SERVED ON:                   C T Corporation System, Chicago, IL

 DATE/METHOD OF SERVICE:              By Process Server on 07/19/2022 at 02:08

 JURISDICTION SERVED:                 Illinois

 APPEARANCE OR ANSWER DUE:            Within 30 days after service of this summons, not counting the day of service

 ATTORNEY(S)/SENDER(S):               Adam B. Riback
                                      LEVIN, RIBACK & ADELMAN, P.C.
                                      10 North Dearborn Street, 11th Floor
                                      Chicago, IL 60602
                                      312-782-6717
 ACTION ITEMS:                        CT has retained the current log, Retain Date: 07/20/2022, Expected Purge Date:
                                      07/25/2022

                                      Image SOP

                                      Email Notification, Csx Legal Papers legalpapersintake@csx.com

                                      Email Notification, Lisa Balter lisa_balter@csx.com

                                      Email Notification, Suzanne Short suzanne_short@csx.com

                                      Email Notification, Tana Copeland tana_copeland@csx.com

 REGISTERED AGENT CONTACT:            C T Corporation System
                                      208 South LaSalle Street
                                      Suite 814
                                      Chicago, IL 60604
                                      866-401-8252
                                      EastTeam2@wolterskluwer.com




                                                                                                                      Page 1 of 2


                                                                                                                 EXHIBIT A
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                                                                          CT Corporation
® Wolters Kluwer                                           Service of Process Notification
                                                                                                                  07/19/2022
                                                                                                     CT Log Number 541954256



 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
 and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
 information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
 included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
 disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
 contained therein.




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                                                                        ~A
                                                                        .Sm Wolters Kluwer

                                PROCESS SERVER DELIVERY DETAILS




Date:                                            Tue, Jul 19, 2022
Server Name:                                     Sheriff Drop




 Entity Served                     CSX INTERMODAL TERMINALS, INC.

 Case Number                       2022L006247

 Jurisdiction                      IL



                                                    Inserts




                                                                                         EXHIBIT A
II Law Division initialCase:  1:22-cv-04247
                        Case Management        Document
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or more information and Zoom Meeting IDs go to https://www.cookcountycourt.org/HOME/Zoom-Links/Agg4906_~e,ectfab,t!
emote Court date: 9/14/2022 9:30 AM                                                                 * s o 1 8 8 3 3                            o *
                                                                                                                      FILED
                                                                                                                      7/13/2022 12:32 PM
                                                                                                                      IRIS Y. MARTINEZ
                                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                               CIRCUIT CLERK
                                                COUNTY DEPARTMENT, LAW DIVISION                                       COOK COUNTY, IL
                                                                                                                      2022L006247
               RAUL ALVAREZ,                                          )                                               Calendar, F
                                                                      )                                               18654652
                                           Plaintiff,                 )
                                                                      )
                                                                                         No~O22LOO6247
                                 V.                                   )
                                                                      )                  Serve:
               MATSON LOGISTICS, INC.,                                )                  CSX lntermodal, Inc.
               a foreign corporation,                                 )                  c/o Registered Agent
               MATSON LOGISTICS WAREHOUSING, INC.,                    )                  CT Corporation Systems
               a foreign corporation,                                 )                  208 S. LaSalle Street
               MATSON NAVIGATION COMPANY, INC.,                       )                  Suite 814
               a foreign corporation,                                 )                  Chicago, IL 60604
               CSX INTERMODAL, INC.,                                  )
               a foreign corporation,                                 )
               CSX INTERMODAL TERMINALS, INC.,                        )
               a foreign corporation,                                 )
                                                                      )
                                          Defendants.                 )

                                                               SUMMONS
              To each defendant:
                                YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your
              appearance in the office of the clerk of this court (located in the Richard J. Daley Center, Room 801,
              Chicago, Illinois 60602), within 30 days after service of this summons, not counting the day of service. IF
              YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
              ASKED IN THE COMPLAINT, A COPY OF WHICH IS HERETO ATTACHED.

              To the officer:
                               This summons must be returned by the officer or other person to whom it was given for
              service, with endorsement of service and fees, if any, immediately after service. If service cannot be made,
              this summons shall be returned so endorsed. This summons may not be served later than 30 days after
              its date.
                                                                 7/13/2022 12:32 PM IRIS Y. MARTINEZ




                                                                                        Clerk of court

                                                   Date of service                      , 20_
                                                    (To be inserte                   PY
                                                     left with defendant or other person)
              Attorney No.: 65779
              LEVIN, RIBACK & ADELMAN, P.C.
              10 N. Dearborn Street
              Chicago, Illinois 60602 (312) 782-6717

                                          CLERK OF THE CIRCUIT COURT OF COOK COUNTY




                                                                                                                               EXHIBIT A
II Law Division initialCase: 1:22-cv-04247
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.emote Court date: 9/14/2022 9:30 AM                                                                * s o I 8 8 3 3                         o *
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                                                                                                                    7/13/2022 12:32 PM
                                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                                    IRIS Y. MARTINEZ
                                         COUNTY DEPA_RTMENT, LAW DIVISION                                           CIRCUIT CLERK
                                                                                                                    COOK COUNTY, IL
                                                                                                                    2022L006247
               RAUL ALVAREZ,                                                  )                                     Calendar, F
                                                                              )                                     18654652
                                          Plaintiff,                          )
                                                                              )
                                 V.              )                                              No.2022L006247
                                                 )
              MATSON LOGISTICS, INC.,            )
              a foreign corporation,             )
              MATSON LOGISTICS WAREHOUSING, INC.,)
              a foreign corporation,             )
              MATSON NAVIGATION COMPANY, INC.,   )
              a foreign corporation,             )
              CSX INTERMODAL, INC.,              )
              a foreign corporation,             )
              CSX INTERMODAL TERMINALS, INC.,    )
              a foreign corporation,             )
                                                                              )
                                         Defendants.                          )

                                                          COMPLAINT AT LAW

                       NOW COMES the Plaintiff, RAUL ALVAREZ, by and through his attorneys,

              LEVIN, RIBACK & ADELMAN, P.C., and complaining of the Defendants, MATSON

              LOGISTICS, INC., a foreign corporation, MATSON LOGISTICS WAREHOUSING, INC.,

              a foreign corporation, MATSON NAVIGATION COMPANY, INC., a foreign corporation,

              CSX INTERMODAL, INC., a foreign corporation, CSX INTERMODAL TERMINALS,

              INC., a foreign corporation, alleges as follows:

                                                     COUNT I
                                                   NEGLIGENCE
                                      MATSON LOGISTICS, INC., a foreign corporation

                  NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

              ADELMAN, P.C., and complaining of the Defendant, MATSON LOGISTICS, INC., a

              foreign corporation, alleges as follows:



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1. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, provided intermodal services that included providing containers

   for the transport of materials by means of tractor-trailer from one location to another.

2. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, provided intermodal services that included its employees and/or

   agents loading materials into containers for the purpose of those materials being

   transported from one location to its intended point of destination and/or delivery.

3. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, provided intermodal services that included providing its own

   employees and/or agents that would load materials into containers for transport over

   roadways and highways to their intended point of destination and/or delivery.

4. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, by and through its employees and/or agents had a duty to load

   the containers in a safe manner so that the load would not shift or move during

   transport which would create a safety hazard to the tractor-trailer operator as well as

   others driving on the roadways and highways that the aforementioned tractor-trailer

   would be traveling upon while transporting the load to its point of destination and/or

   delivery.

5. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, by and through its employees and/or agents, had a duty to

   safely secure the load that its employees and/or agents loaded into containers so

   that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned



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                                                                                                   EXHIBIT A
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   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 7P1 Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, MATSON LOGISTICS, INC., not properly securing the load

   within the container. This failure to properly secure the load on the part of the



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   Defendant included a lack of bracing inside the container that would prevent the load
                                             '

   of heavy steel equipment from shifting during its transport over the highways in

   Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, MATSON

   LOGISTICS, INC., by and through its agents, servants and employees, was then

   and there guilty of one or more of the following careless and negligent acts and/or

   omissions:

      a) Carelessly and negligently loaded the container with heavy steel equipment
         and failed to safely and properly secure the load to prevent it from moving
         and/or shifting during its transport over the highways of Illinois;

      b) Carelessly and negligently failed to safely and properly secure bracing to the
         load of heavy steel equipment to prevent it from shifting and/or moving during
         its transport over the highways of Illinois;

      c) Carelessly and negligently failed to provide sufficient bracing that was
         necessary to safely and properly secure the load of heavy steel equipment
         and prevent it from shifting and/or moving during its transport over the
         highways of Illinois;

      d) Carelessly and negligently failed to conduct a proper inspection of the load of
         heavy steel equipment once loaded into the container to ensure that the load
         was safely and properly secured and/or braced in a manner that would
         prevent the load from shifting and/or moving during its transport over the
         highways of Illinois;

      e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel


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            equipment inside the sealed container was not properly secured and/or
            braced to prevent it from shifting or. moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

   and/or otherwise moved due to the load not being properly secured and/or braced,

   causing the tractor Plaintiff was inside and the attached container from tipping over

   on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

   by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, MATSON

   LOGISTICS, INC., the Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries including, but not limited to, medical bills (past,

   present and future), lost wages (past, present and future), pain & suffering (past,

   present and future), and loss of normal life (past, present and future), disability (past,

   present and future).

      WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

   Defendant, MATSON LOGISTICS, INC., a foreign corporation, in a sum in excess of

  $50,000.00 and costs in bringing this action.




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                                COUNT II
                              NEGLIGENCE
          MATSON LOGISTICS WAREHOUSING, INC., a foreign corporation

   NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, MATSON LOGISTICS

WAREHOUSING, INC., a foreign corporation, alleges as follows:

1. That at on and before December 19, 2020, the Defendant, MATSON LOGISTICS

   WAREHOUSING, INC., a corporation, provided intermodal services that included

   providing containers for the transport of materials by means of tractor-trailer from

   one location to another.

2. That on and before December 19, 2020, the Defendant, MATSON OGISTICS

   WAREHOUSING, INC., a corporation, provided intermodal services that included its

   employees and/or agents loading materials into containers for the purpose of those

   materials being transported from one location to its intended point of destination

   and/or delivery.

3. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS

   WAREHOUSING, INC., a corporation, provided intermodal services that included

   providing its own employees and/or agents that would load materials into containers

   for transport over roadways and highways to their intended point of destination

   and/or delivery.

4. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS

  WAREHOUSING, INC., a corporation, by and through its emP,loyees and/or agents

   had a duty to load the containers in a safe manner so that the load would not shift or

  move during transport which would create a safety hazard to the tractor-trailer



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   operator as well as others driving on the roadways and highways that the

   aforementioned tractor-trailer would be traveling upon while transporting the load to

   its point of destination and/or delivery.

5. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS

   WAREHOUSING, INC., a corporation, by and through its employees and/or agents,

   had a duty to safely secure the load that its employees and/or agents loaded into

   containers so that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.



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                                                                                                          EXHIBIT A
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11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12.On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, MATSON LOGISTICS WAREHOUSING, INC., not properly

   securing the load within the container. This failure to properly secure the load on the

   part of the Defendant included a lack of bracing inside the container that would

   prevent the load of heavy steel equipment from shifting during its transport over the

   highways in Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, MATSON

   LOGISTICS WAREHOUSING, INC., by and through its agents, servants and

   employees, was then and there guilty of one or more of the following careless and

   negligent acts and/or omissions:

      a) Carelessly and negligently loaded the container with heavy steel equipment
         and failed to safely and properly secure the load to prevent it from moving
         and/or shifting during its transport over the highways of Illinois;



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       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

       d) Carelessly and negligently failed to conduct a proper inspection of the load of
          heavy steel equipment once loaded into the container to ensure that the load
          was safely and properly secured and/or braced in a manner that would
          prevent the load from shifting and/or moving during its transport over the
          highways of Illinois;

       e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
          equipment inside the sealed container was not properly secured and/or
          braced to prevent it from shifting or moving during transport;

       f) Carelessly and negligently failed to provide sufficient bracing to prevent the
          load of heavy steel equipment inside the sealed container from shifting or
          moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

   and/or otherwise moved due to the load not being properly secured and/or braced,

   causing the tractor Plaintiff was inside and the attached container from tipping over

   on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

   by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, MATSON

   LOGISTICS WAREHOUSING, INC., the Plaintiff, RAUL ALVAREZ, suffered severe

   and permanent personal and pecuniary injuries including, but not limited to, medical

   bills (past, present and future), lost wages (past, present and future), pain &


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   suffering (past, present and future), and loss of normal life (past, present and future),

   disability (past, present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, MATSON LOGISTICS WAREHOUSING, INC., a foreign corporation, in a

sum in excess of $50,000.00 and costs in bringing this action.

                                COUNT Ill
                              NEGLIGENCE
            MATSON NAVIGATION COMPANY, INC., a foreign corporation

   NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, MATSON LOGISTICS, INC., a

foreign corporation, alleges as follows:

1. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, provided intermodal services that included

   providing containers for the transport of materials by means of tractor-trailer from

   one location to another.

2. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, provided intermodal services that included its

   employees and/or agents loading materials into containers for the purpose of those

   materials being transported from one location to its intended point of destination

   and/or delivery.

3. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, provided intermodal services that included

   providing its own employees and/or agents that would load materials into containers

   for transport over roadways and highways to their intended point of destination



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   and/or delivery.

4. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, by and through its employees and/or agents had a

   duty to load the containers in a safe manner so that the load would not shift or move

   during transport which would create a safety hazard to the tractor-trailer operator as

   well as others driving on the roadways and highways that the aforementioned

   tractor-trailer would be traveling upon while transporting the load to its point of

   destination and/or delivery.

5. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, by and through its employees and/or agents, had a

   duty to safely secure the load that its employees and/or agents loaded into

   containers so that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from



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   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12.On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, MATSON NAVIGATION COMPANY, INC., not properly

   securing the load within the container. This failure to properly secure the load on the

   part of the Defendant included a lack of bracing inside the container that would

   prevent the load of heavy steel equipment from shifting during its transport over the

   highways in Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.




                                                 -12-

                                                                                                       EXHIBIT A
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15. Notwithstanding its duty, at said time and place, the Defendant, MATSON

   NAVIGATION COMPANY, INC., by and through its agents, servants and

   employees, was then and there guilty of one or more of the following careless and

   negligent acts and/or omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;

       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

       d) Carelessly and negligently failed to conduct a proper inspection of the load of
          heavy steel equipment once loaded into the container to ensure that the load
          was safely and properly secured and/or braced in a manner that would
          prevent the load from shifting and/or moving during its transport over the
          highways of Illinois;

       e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
          equipment inside the sealed container was not properly secured and/or
          braced to prevent it from shifting or moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

  personal and pecuniary injuries when the load of heavy steel equipment shifted

  and/or otherwise moved due to the load not being properly secured and/or braced,

  causing the tractor Plaintiff was inside and the attached container from tipping over


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                                                                                                       EXHIBIT A
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    on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

    by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, MATSON

    NAVIGATION COMPANY, INC., the Plaintiff, RAUL ALVAREZ, suffered severe and

    permanent personal and pecuniary injuries including, but not limited to, medical bills

    (past, present and future), lost wages (past, present and future), pain & suffering

   (past, present and future), and loss of normal life (past, present and future), disability

   (past, present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, MATSON NAVIGATION COMPANY, INC., a foreign corporation, in a sum in

excess of $50,000.00 and costs in bringing this action.

                                     COUNT IV
                                   NEGLIGENCE
                       CSX INTERMODAL, INC., a foreign corporation

       NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, CSX INTERMODAL, INC., a

foreign corporation, alleges as follows:

1. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, provided intermodal services that included providing containers for the

   transport of materials by means of tractor-trailer from one location to another.

2. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, provided intermodal services that included its employees and/or agents

   loading materials into containers for the purpose of those materials being

   transported from one location to its intended point of destination and/or delivery.



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3. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

    corporation, provided intermodal services that included providing its own employees

    and/or agents that would load materials into containers for transport over roadways

   and highways to their intended point of destination and/or delivery.

4. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, by and through its employees and/or agents had a duty to load the

   containers in a safe manner so that the load would not shift or move during transport

   which would create a safety hazard to the tractor-trailer operator as well as others

   driving on the roadways and highways that the aforementioned tractor-trailer would

   be traveling upon while transporting the load to its point of destination and/or

   delivery.

5. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, by and through its employees and/or agents, had a duty to safely

   secure the load that its employees and/or agents loaded into containers so that the

   load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and



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   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, CSX INTERMODAL, INC., not properly securing the load within

   the container. This failure to properly secure the load on the part of the Defendant

   included a lack of bracing inside the container that would prevent the load of heavy

   steel equipment from shifting during its transport over the highways in Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.




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                                                                                                    EXHIBIT A
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14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, CSX INTERMODAL,

   INC., by and through its agents, servants and employees, was then and there guilty

   of one or more of the following careless and negligent acts and/or omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;

       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

       d) Carelessly and negligently failed to conduct a proper inspection of the load of
          heavy steel equipment once loaded into the container to ensure that the load
          was safely and properly secured and/or braced in a manner that would
          prevent the load from shifting and/or moving during its transport over the
          highways of Illinois;

       e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
          equipment inside the sealed container was not properly secured and/or
          braced to prevent it from shifting or moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

      g) Carelessly and negligently failed to ensure that whatever bracing was
         provided was sufficient to prevent the load of heavy steel equipment to shift
         and/or move during transport.

16. On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

  and/or otherwise moved due to the load not being properly secured and/or braced,


                                                 -17-

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    causing the tractor Plaintiff was inside and the attached container from tipping over

    on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

    by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, CSX

    INTERMODAL, INC., the Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries including, but not limited to, medical bills (past,

   present and future), lost wages (past, present and future), pain & suffering (past,

   present and future), and loss of normal life (past, present and future), disability (past,

   present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, CSX INTERMODAL, INC., a foreign corporation, in a sum in excess of

$50,000.00 and costs in bringing this action.


                                 COUNTV
                               NEGLIGENCE
              CSX INTERMODAL TERMINALS, INC., a foreign corporation

       NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, CSX INTERMODAL TERMINALS,

INC., a foreign corporation, alleges as follows:

1. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, provided intermodal services that included

   providing containers for the transport of materials by means of tractor-trailer from

   one location to another.

2. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, provided intermodal services that included its


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   employees and/or agents loading materials into containers for the purpose of those
                                                 .          .
   materials being transported from one location to its intended point of destination

   and/or delivery.

3. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, provided intermodal services that included

   providing its own employees and/or agents that would load materials into containers

   for transport over roadways and highways to their intended point of destination

   and/or delivery.

4. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, by and through its employees and/or agents had a

   duty to load the containers in a safe manner so that the load would not shift or move

   during transport which would create a safety hazard to the tractor-trailer operator as

   well as others driving on the roadways and highways that the aforementioned

   tractor-trailer would be traveling upon while transporting the load to its point of

   destination and/or delivery.

5. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, by and through its employees and/or agents, had

   a duty to safely secure the load that its employees and/or agents loaded into

   containers so that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.



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7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, CSX INTERMODAL TERMINALS, INC., not properly securing

   the load within the container. This failure to properly secure the load on the part of

  the Defendant included a lack of bracing inside the container that would prevent the

  load of heavy steel equipment from shifting during its transport over the highways in

  Illinois.



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                                                                                                    EXHIBIT A
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13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, CSX INTERMODAL

   TERMINALS, INC., by and through its agents, servants and employees, was then

   and there guilty of one or more of the following careless and negligent acts and/or

   omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;

       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

      d) Carelessly and negligently failed to conduct a proper inspection of the load of
         heavy steel equipment once loaded into the container to ensure that the load
         was safely and properly secured and/or braced in a manner that would
         prevent the load from shifting and/or moving during its transport over the
         highways of Illinois;

      e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
         equipment inside the sealed container was not properly secured and/or
         braced to prevent it from shifting or moving during transport;

      f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
           load of heavy steel equipment inside the sealed container from shifting or
           moving during transport;


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                                                                                                    EXHIBIT A
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       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

    personal and pecuniary injuries when the load of heavy steel equipment shifted

   and/or otherwise moved due to the load not being properly secured and/or braced,

   causing the tractor Plaintiff was inside and the attached container from tipping over

   on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

   by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, CSX

   INTERMODAL TERMINALS, INC., the Plaintiff, RAUL ALVAREZ, suffered severe

   and permanent personal and pecuniary injuries including, but not limited to, medical

   bills (past, present and future), lost wages (past, present and future), pain &

   suffering (past, present and future), and loss of normal life (past, present and future),

   disability (past, present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, CSX INTERMODAL TERMINALS, INC., a foreign corporation, in a sum in

excess of $50,000.00 and costs in bringing this action.


                                                         Respectfully submitted,

                                                        LEVIN, RIBACK & ADELMAN, P.C.


                                                By:        Isl Adam B. Riback
                                                        Adam B. Riback, Esq.




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Atty I.D. No. 65779
LEVIN, RIBACK & ADELMAN, P.C.
10 North Dearborn Street, 11 th Floor
Chicago, Illinois 60602
(312) 782-6717
ariback@lralegal.com




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                                                                                                   EXHIBIT A
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                           SUPREME COURT RULE 222 AFFIDAVIT

       Adam B. Riback, attorney for Plaintiff, duly sworn under oath, states as follows:

        Based upon information and belief as of the date of the signing of this Complaint,
the total money damages sought are in excess of $50,000.00.



                                                     Isl Adam B. Riback
                                                  Adam B. Riback
                                                  Attorney for Plaintiff
                                                  LEVIN, RIBACK & ADELMAN, P.C.
                                                  10 North Dearborn Street, 11 th Floor
                                                  Chicago, Illinois 60602
                                                  ariback@lralegal.com


                                                  Dated:      7113122




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                                                                                                              EXHIBIT A
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or more information and Zoom Meeting IDs go to https://www.cookcountycourt.org/HOME/Zoom-Links/Agg4906_~e            ectV'ab,12
emote Court date: 9/14/2022 9:30 AM                                                                  * 5 0 1 8 8 3 3 0 *
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                                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                                     IRIS Y. MARTINEZ
                                                                                                                     CIRCUIT CLERK
                                         COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                     COOK COUNTY, IL
                                                                                                                     2022L006247
               RAUL ALVAREZ,                                                   )                                     Calendar, F
                                                                               )                                     18654652
                                          Plaintiff,                           )
                                                                               )
                                 V.                                            )                 No.2022L006247
                                                                               )
              MATSON LOGISTICS, INC.,            )
              a foreign corporation,             )
              MATSON LOGISTICS WAREHOUSING, INC.,)
              a foreign corporation,             )
              MATSON NAVIGATION COMPANY, INC.,   )
              a foreign corporation,             )
              CSX INTERMODAL, INC.,              )
              a foreign corporation,             )
              CSX INTERMODAL TERMINALS, INC.,    )
              a foreign corporation,             )
                                                 )
                                 Defendants.     )

                                                          COMPLAINT AT LAW

                       NOW COMES the Plaintiff, RAUL ALVAREZ, by and through his attorneys,

              LEVIN, RIBACK & ADELMAN, P.C., and complaining of the Defendants, MATSON

              LOGISTICS, INC., a foreign corporation, MATSON LOGISTICS WAREHOUSING, INC.,

              a foreign corporation, MATSON NAVIGATION COMPANY, INC., a foreign corporation,

              CSX INTERMODAL, INC., a foreign corporation, CSX INTERMODAL TERMINALS,

              INC., a foreign corporation, alleges as follows:

                                                     COUNT I
                                                   NEGLIGENCE
                                      MATSON LOGISTICS, INC., a foreign corporation

                  NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

              ADELMAN, P.C., and complaining of the Defendant, MATSON LOGISTICS, INC., a

              foreign corporation, alleges as follows:



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1. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, provided intermodal services that included providing containers

   for the transport of materials by means of tractor-trailer from one location to another.

2. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, provided intermodal services that included its employees and/or

   agents loading materials into containers for the purpose of those materials being

   transported from one location to its intended point of destination and/or delivery.

3. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, provided intermodal services that included providing its own

   employees and/or agents that would load materials into containers for transport over

   roadways and highways to their intended point of destination and/or delivery.

4. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, by and through its employees and/or agents had a duty to load

   the containers in a safe manner so that the load would not shift or move during

   transport which would create a safety hazard to the tractor-trailer operator as well as

   others driving on the roadways and highways that the aforementioned tractor-trailer

   would be traveling upon while transporting the load to its point of destination and/or

   delivery.

5. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS,

   INC., a corporation, by and through its employees and/or agents, had a duty to

   safely secure the load that its employees and/or agents loaded into containers so

   that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned



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                                                                                                       EXHIBIT A
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   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12.On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, MATSON LOGISTICS, INC., not properly securing the load

  within the container. This failure to properly secure the load on the part of the



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                                                                                                       EXHIBIT A
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   Defendant included a lack of bracing inside the container that would prevent the load

   of heavy steel equipment from shifting during its transport over the highways in

   Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, MATSON

   LOGISTICS, INC., by and through its agents, servants and employees, was then

   and there guilty of one or more of the following careless and negligent acts and/or

   omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;

      b) Carelessly and negligently failed to safely and properly secure bracing to the
         load of heavy steel equipment to prevent it from shifting and/or moving during
         its transport over the highways of Illinois;

      c) Carelessly and negligently failed to provide sufficient bracing that was
         necessary to safely and properly secure the load of heavy steel equipment
         and prevent it from shifting and/or moving during its transport over the
         highways of Illinois;

      d) Carelessly and negligently failed to conduct a proper inspection of the load of
         heavy steel equipment once loaded into the container to ensure that the load
         was safely and properly secured and/or braced in a manner that would
         prevent the load from shifting and/or moving during its transport over the
         highways of Illinois;

      e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel


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                                                                                                     EXHIBIT A
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            equipment inside the sealed container was not properly secured and/or
            braced to prevent it from shifting or: moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

   and/or otherwise moved due to the load not being properly secured and/or braced,

   causing the tractor Plaintiff was inside and the attached container from tipping over

   on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

   by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, MATSON

   LOGISTICS, INC., the Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries including, but not limited to, medical bills (past,

   present and future), lost wages (past, present and future), pain & suffering (past,

   present and future), and loss of normal life (past, present and future), disability (past,

   present and future).

       WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

   Defendant, MATSON LOGISTICS, INC., a foreign corporation, in a sum in excess of

  $50,000.00 and costs in bringing this action.




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                                                                                                       EXHIBIT A
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                                COUNT II
                              NEGLIGENCE
          MATSON LOGISTICS WAREHOUSING, INC., a foreign corporation

   NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, MATSON LOGISTICS

WAREHOUSING, INC., a foreign corporation, alleges as follows:

1. That at on and before December 19, 2020, the Defendant, MATSON LOGISTICS

   WAREHOUSING, INC., a corporation, provided intermodal services that included

   providing containers for the transport of materials by means of tractor-trailer from

   one location to another.

2. That on and before December 19, 2020, the Defendant, MATSON OGISTICS

   WAREHOUSING, INC., a corporation, provided intermodal services that included its

   employees and/or agents loading materials into containers for the purpose of those

   materials being transported from one location to its intended point of destination

   and/or delivery.

3. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS

   WAREHOUSING, INC., a corporation, provided intermodal services that included

   providing its own employees and/or agents that would load materials into containers

   for transport over roadways and highways to their intended point of destination

   and/or delivery.

4. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS

  WAREHOUSING, INC., a corporation, by and through its employees and/or agents

   had a duty to load the containers in a safe manner so that the load would not shift or

  move during transport which would create a safety hazard to the tractor-trailer



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                                                                                                    EXHIBIT A
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   operator as well as others driving on the roadways and highways that the

   aforementioned tractor-trailer would be traveling upon while transporting the load to

   its point of destination and/or delivery.

5. That on and before December 19, 2020, the Defendant, MATSON LOGISTICS

   WAREHOUSING, INC., a corporation, by and through its employees and/or agents,

   had a duty to safely secure the load that its employees and/or agents loaded into

   containers so that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.



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                                                                                                   EXHIBIT A
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11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, MATSON LOGISTICS WAREHOUSING, INC., not properly

   securing the load within the container. This failure to properly secure the load on the

   part of the Defendant included a lack of bracing inside the container that would

   prevent the load of heavy steel equipment from shifting during its transport over the

   highways in Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, MATSON

   LOGISTICS WAREHOUSING, INC., by and through its agents, servants and

   employees, was then and there guilty of one or more of the following careless and

   negligent acts and/or omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;



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                                                                                                       EXHIBIT A
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       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

       d) Carelessly and negligently failed to conduct a proper inspection of the load of
          heavy steel equipment once loaded into the container to ensure that the load
          was safely and properly secured and/or braced in a manner that would
          prevent the load from shifting and/or moving during its transport over the
          highways of Illinois;

       e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
          equipment inside the sealed container was not properly secured and/or
          braced to prevent it from shifting or moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

   and/or otherwise moved due to the load not being properly secured and/or braced,

   causing the tractor Plaintiff was inside and the attached container from tipping over

   on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

   by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, MATSON

   LOGISTICS WAREHOUSING, INC., the Plaintiff, RAUL ALVAREZ, suffered severe

   and permanent personal and pecuniary injuries including, but not limited to, medical

   bills (past, present and future), lost wages (past, present and future), pain &


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   suffering (past, present and future), and loss of normal life (past, present and future),

   disability (past, present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, MATSON LOGISTICS WAREHOUSING, INC., a foreign corporation, in a

sum in excess of $50,000.00 and costs in bringing this action.

                                COUNT Ill
                              NEGLIGENCE
            MATSON NAVIGATION COMPANY, INC., a foreign corporation

   NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, MATSON LOGISTICS, INC., a

foreign corporation, alleges as follows:

1. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, provided intermodal services that included

   providing containers for the transport of materials by means of tractor-trailer from

   one location to another.

2. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, provided intermodal services that included its

   employees and/or agents loading materials into containers for the purpose of those

   materials being transported from one location to its intended point of destination

   and/or delivery.

3. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, provided intermodal services that included

   providing its own employees and/or agents that would load materials into containers

   for transport over roadways and highways to their intended point of destination



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                                                                                                      EXHIBIT A
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    and/or delivery.

4. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, by and through its employees and/or agents had a

   duty to load the containers in a safe manner so that the load would not shift or move

   during transport which would create a safety hazard to the tractor-trailer operator as

   well as others driving on the roadways and highways that the aforementioned

   tractor-trailer would be traveling upon while transporting the load to its point of

   destination and/or delivery.

5. That on and before December 19, 2020, the Defendant, MATSON NAVIGATION

   COMPANY, INC., a corporation, by and through its employees and/or agents, had a

   duty to safely secure the load that its employees and/or agents loaded into

   containers so that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 7P1 Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiffs arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from



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                                                                                                   EXHIBIT A
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   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, MATSON NAVIGATION COMPANY, INC., not properly

   securing the load within the container. This failure to properly secure the load on the

   part of the Defendant included a lack of bracing inside the container that would

   prevent the load of heavy steel equipment from shifting during its transport over the

   highways in Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.




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                                                                                                    EXHIBIT A
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15. Notwithstanding its duty, at said time and place, the Defendant, MATSON

   NAVIGATION COMPANY, INC., by and through its agents, servants and

   employees, was then and there guilty of one or more of the following careless and

   negligent acts and/or omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;

       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

       d) Carelessly and negligently failed to conduct a proper inspection of the load of
          heavy steel equipment once loaded into the container to ensure that the load
          was safely and properly secured and/or braced in a manner that would
          prevent the load from shifting and/or moving during its transport over the
          highways of Illinois;

       e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
          equipment inside the sealed container was not properly secured and/or
          braced to prevent it from shifting or moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

  personal and pecuniary injuries when the load of heavy steel equipment shifted

  and/or otherwise moved due to the load not being properly secured and/or braced,

  causing the tractor Plaintiff was inside and the attached container from tipping over


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    on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

    by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, MATSON

    NAVIGATION COMPANY, INC., the Plaintiff, RAUL ALVAREZ, suffered severe and

    permanent personal and pecuniary injuries including, but not limited to, medical bills

   (past, present and future), lost wages (past, present and future), pain & suffering

   (past, present and future), and loss of normal life (past, present and future), disability

   (past, present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, MATSON NAVIGATION COMPANY, INC., a foreign corporation, in a sum in

excess of $50,000.00 and costs in bringing this action.

                                    COUNT IV
                                  NEGLIGENCE
                      CSX INTERMODAL, INC., a foreign corporation

       NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, CSX INTERMODAL, INC., a

foreign corporation, alleges as follows:

1. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, provided intermodal services that included providing containers for the

   transport of materials by means of tractor-trailer from one location to another.

2. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, provided intermodal services that included its employees and/or agents

   loading materials into containers for the purpose of those materials being

   transported from one location to its intended point of.destination and/or delivery.



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3. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, provided intermodal services.that included providing its own employees

   and/or agents that would load materials into containers for transport over roadways

   and highways to their intended point of destination and/or delivery.

4. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, by and through its employees and/or agents had a duty to load the

   containers in a safe manner so that the load would not shift or move during transport

   which would create a safety hazard to the tractor-trailer operator as well as others

   driving on the roadways and highways that the aforementioned tractor-trailer would

   be traveling upon while transporting the load to its point of destination and/or

   delivery.

5. That on and before December 19, 2020, the Defendant, CSX INTERMODAL, INC., a

   corporation, by and through its employees and/or agents, had a duty to safely

   secure the load that its employees and/or agents loaded into containers so that the

   load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.

7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX

   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and



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   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, CSX INTERMODAL, INC., not properly securing the load within

   the container. This failure to properly secure the load on the part of the Defendant

   included a lack of bracing inside the container that would prevent the load of heavy

   steel equipment from shifting during its transport over the highways in Illinois.

13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.




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14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, CSX INTERMODAL,

   INC., by and through its agents, servants and employees, was then and there guilty

   of one or more of the following careless and negligent acts and/or omissions:

       a) Carelessly and negligently loaded the container with heavy steel equipment
          and failed to safely and properly secure the load to prevent it from moving
          and/or shifting during its transport over the highways of Illinois;

       b) Carelessly and negligently failed to safely and properly secure bracing to the
          load of heavy steel equipment to prevent it from shifting and/or moving during
          its transport over the highways of Illinois;

       c) Carelessly and negligently failed to provide sufficient bracing that was
          necessary to safely and properly secure the load of heavy steel equipment
          and prevent it from shifting and/or moving during its transport over the
          highways of Illinois;

       d) Carelessly and negligently failed to conduct a proper inspection of the load of
          heavy steel equipment once loaded into the container to ensure that the load
          was safely and properly secured and/or braced in a manner that would
          prevent the load from shifting and/or moving during its transport over the
          highways of Illinois;

       e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
          equipment inside the sealed container was not properly secured and/or
          braced to prevent it from shifting or moving during transport;

       f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
            load of heavy steel equipment inside the sealed container from shifting or
            moving during transport;

       g) Carelessly and negligently failed to ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

  and/or otherwise moved due to the load not being properly secured and/or braced,


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    causing the tractor Plaintiff was inside and the attached container from tipping over
                                               .        '
    on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

    by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, CSX

    INTERMODAL, INC., the Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries including, but not limited to, medical bills (past,

   present and future), lost wages (past, present and future), pain & suffering (past,

   present and future), and loss of normal life (past, present and future), disability (past,

   present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, CSX INTERMODAL, INC., a foreign corporation, in a sum in excess of

$50,000.00 and costs in bringing this action.


                                 COUNTV
                                NEGLIGENCE
              CSX INTERMODAL TERMINALS, INC., a foreign corporation

       NOW COMES the Plaintiff, RAUL ALVAREZ, by his attorneys, LEVIN, RIBACK &

ADELMAN, P.C., and complaining of the Defendant, CSX INTERMODAL TERMINALS,

INC., a foreign corporation, alleges as follows:

1. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, provided intermodal services that included

   providing containers for the transport of materials by means of tractor-trailer from

   one location to another.

2. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, provided intermodal services that included its


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                                                                                                        EXHIBIT A
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   employees and/or agents loading materials into containers for the purpose of those

   materials being transrorted from one location to its intended point of destination

   and/or delivery.

3. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, provided intermodal services that included

   providing its own employees and/or agents that would load materials into containers

   for transport over roadways and highways to their intended point of destination

   and/or delivery.

4. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, by and through its employees and/or agents had a

   duty to load the containers in a safe manner so that the load would not shift or move

   during transport which would create a safety hazard to the tractor-trailer operator as

   well as others driving on the roadways and highways that the aforementioned

   tractor-trailer would be traveling upon while transporting the load to its point of

   destination and/or delivery.

5. That on and before December 19, 2020, the Defendant, CSX INTERMODAL

   TERMINALS, INC., a corporation, by and through its employees and/or agents, had

   a duty to safely secure the load that its employees and/or agents loaded into

   containers so that the load would not shift or move during transport.

6. On December 19, 2020, the Plaintiff, RAUL ALVAREZ was a truck driver who owned

   Valerias Transportation. Plaintiff, Raul Alvarez, had his services retained to pick up

   a container at the CSX Railroad Company located at 7000 W. 71 st Street in Bedford

   Park, Illinois.



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7. On December 29, 2020, Plaintiff, RAUL ALVAREZ drove his tractor to the CSX
                                               .       .
   Railroad Company yard located at 7000 W. 71 st Street in Bedford Park, Illinois.

8. At the CSX Railroad Company yard Plaintiff picked up a container of heavy steel

   equipment that had been loaded into the container prior to the Plaintiff's arrival and

   the container was sealed.

9. The container that held heavy steel equipment was loaded improperly and lacked

   the bracing inside of the unit to prevent the load of heavy steel equipment from

   shifting while being transported over the roadways and highways in Illinois.

10. On December 19, 2020, Plaintiff's assignment was to transport the container of

   heavy steel equipment from the CSX Railroad Company yard to the BNSF Railway -

   Logistics Park Chicago which was located at 26664 South Elwood International Port

   Road in the Village of Elwood, County of Will, and State of Illinois.

11. On December 19, 2020, while transporting the aforementioned load, Plaintiff's route

   of travel took him northbound on US Route 45 towards Interstate 55 (Stevenson

   Expressway). Plaintiff entered the US Route 45 north bound ramp to proceed

   southbound on Interstate 55, in the City of LaGrange, Illinois.

12. On December 19, 2020, while on the US Route 45 ramp to proceed southbound on

   Interstate 55 the load of heavy steel equipment shifted within the container as a

   result of Defendant, CSX INTERMODAL TERMINALS, INC., not properly securing

   the load within the container. This failure to properly secure the load on the part of

   the Defendant included a lack of bracing inside the container that would prevent the

   load of heavy steel equipment from shifting during its transport over the highways in

   Illinois.



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13. On December 19, 2020, the load of heavy steel equipment shifted while Plaintiff

   attempted to enter onto Interstate 55 from US Route 45, causing the load of heavy

   steel equipment inside the container to shift and thereby proximately causing the

   tractor and attached container to overturn on the driver's side.

14. On December 19, 2020, the Plaintiff was in the exercise of due care and caution for

   his own safety while performing his duties as a truck driver/operator.

15. Notwithstanding its duty, at said time and place, the Defendant, CSX INTERMODAL

   TERMINALS, INC., by and through its agents, servants and employees, was then

   and there guilty of one or more of the following careless and negligent acts and/or

   omissions:

      a) Carelessly and negligently loaded the container with heavy steel equipment
         and failed to safely and properly secure the load to prevent it from moving
         and/or shifting during its transport over the highways of Illinois;

      b) Carelessly and negligently failed to safely and properly secure bracing to the
         load of heavy steel equipment to prevent it from shifting and/or moving during
         its transport over the highways of Illinois;

      c) Carelessly and negligently failed to provide sufficient bracing that was
         necessary to safely and properly secure the load of heavy steel equipment
         and prevent it from shifting and/or moving during its transport over the
         highways of Illinois;

      d) Carelessly and negligently failed to conduct a proper inspection of the load of
         heavy steel equipment once loaded into the container to ensure that the load
         was safely and properly secured and/or braced in a manner that would
         prevent the load from shifting and/or moving during its transport over the
         highways of Illinois;

      e) Carelessly and negligently failed to warn Plaintiff that the load of heavy steel
         equipment inside the sealed container was not properly secured and/or
         braced to prevent it from shifting or moving during transport;

      f)   Carelessly and negligently failed to provide sufficient bracing to prevent the
           load of heavy steel equipment inside the sealed container from shifting or
           moving during transport;


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       g) Carelessly and negligently f~iled tq ensure that whatever bracing was
          provided was sufficient to prevent the load of heavy steel equipment to shift
          and/or move during transport.

16.On December 19, 2020, Plaintiff, RAUL ALVAREZ, suffered severe and permanent

   personal and pecuniary injuries when the load of heavy steel equipment shifted

   and/or otherwise moved due to the load not being properly secured and/or braced,

   causing the tractor Plaintiff was inside and the attached container from tipping over

   on the driver's side while Plaintiff attempted to enter Interstate 55 from US Route 45

   by means of a ramp.

17. That as a direct and proximate result of the negligence of the Defendant, CSX

   INTERMODAL TERMINALS, INC., the Plaintiff, RAUL ALVAREZ, suffered severe

   and permanent personal and pecuniary injuries including, but not limited to, medical

   bills (past, present and future), lost wages (past, present and future), pain &

   suffering (past, present and future), and loss of normal life (past, present and future),

   disability (past, present and future).

   WHEREFORE, the Plaintiff, RAUL ALVAREZ, demands judgment against the

Defendant, CSX INTERMODAL TERMINALS, INC., a foreign corporation, in a sum in

excess of $50,000.00 and costs in bringing this action.


                                                         Respectfully submitted,

                                                        LEVIN, RIBACK & ADELMAN, P.C.


                                                By:        Isl Adam B. Riback
                                                        Adam B. Riback, Esq.




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                          SUPREME COURT RULE 222 AFFIDAVIT

       Adam B. Riback, attorney for Plaintiff, duly sworn under oath, states as follows:

        Based upon information and belief as of the date of the signing of this Complaint,
the total money damages sought are in excess of $50,000.00.



                                                    Isl Adam B. Riback
                                                 Adam B. Riback
                                                 Attorney for Plaintiff
                                                 LEVIN, RIBACK & ADELMAN, P.C.
                                                 10 North Dearborn Street, 11 th Floor
                                                 Chicago, Illinois 60602
                                                 ariback@lralegal.com


                                                 Dated:     7113122




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